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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
                               EASTERN DIVISION


                                     :
In re:                               :    CHAPTER 7
                                     :    CASE NOS.
LEGACY GLOBAL SPORTS, L.P.,          :    20-11157-JEB
                                     :
LGS MANAGEMENT, LLC,                 :    20-11351
                                     :
LGS MANUFACTURING, LLC,              :    20-11352
                                     :
LEGACY GLOBAL LACROSSE, LLC,         :    20-11353
                                     :
LGS LOGISTICS, LLC,                  :    20-11354
                                     :
LGS TEAM SALES, LLC,                 :    20-11355
                                     :
PREMIER SPORTS EVENTS, LLC,          :    20-11356
                                     :
MASSACHUSETTS PREMIER                :    20-11357
SOCCER, LLC,                         :
                                     :
MAINE PREMIER SOCCER, LLC,           :    20-11358
                                     :
MASS PREMISER SOCCER IN NEW          :    20-11359
HAMPSHIRE, LLC,                      :
                                     :
FLORIDA PREMIER SOCCER, LLC,         :    20-11360
                                     :
NEW YORK PREMIER SOCCER, LLC,        :    20-11361
                                     :
JERSEY PREMIER SOCCER, LLC,          :    20-11362
                                     :
GPS IN VERMONT, LLC,                 :    20-11363
                                     :
RHODE ISLAND PREMIER                 :    20-11364
SOCCER, LLC,                         :
                                     :
CAROLINA PREMIER SOCCER, LLC,        :    20-11365
                                     :
GEORGIA PREMIER SOCCER, LLC,         :    20-11366
                                     :
GLOBAL PREMIER SOCCER PUERTO         :    20-11367
RICO, LLC,                           :
                                     :
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GLOBAL PREMIER SOCCER                       :      20-11368
CANADA, LLC,                                :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11369
OREGON, LLC,                                :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11370
CALIFORNIA, LLC,                            :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11371
MISSOURI, LLC,                              :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11372
CONNECTICUT, LLC,                           :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11373
DELAWARE, LLC,                              :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11374
MICHIGAN, LLC,                              :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11375
MINNESOTA, LLC,                             :
                                            :
GLOBAL PREMIER SOCCER                       :      20-11376
OHIO, LLC,                                  :
                                            :
                  Debtors,                  :
                                            :

            ORDER ON DEBTORS’ MOTION TO FILE PORTIONS
           OF SCHEDULES AND CREDITOR MATRIX UNDER SEAL

       This Court having considered the Motion of Legacy Global Sports, L.P. and its above

captioned debtor subsidiaries (the “Debtors”), for an order allowing the Debtors to file under seal

the portions of their schedules of assets and liabilities, and the accompanying creditor matrix,

consisting of names and addresses of the Debtors’ former employees and customers [Case No.

20-11157, Docket No. 40] (the "Motion"), the assent of the Chapter 7 Trustee to the Motion, and

other statements made on the record at the hearing on the Motion on June 26, 2020; no

objections to the Motion having been filed; the Court having determined that (a) it has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) this matter is a core
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proceeding within the meaning of 28 U.S.C. § 157(b)(2), (c) the relief requested herein is

authorized pursuant to Bankruptcy Code sections 105(a), 107(b)(1), and Bankruptcy Rule 9018;

and (d) notice of the Motion was due and proper; and it appearing that the relief granted by this

Order is in the best interests of the Debtors, their respective estates and creditors; and after due

deliberation, and good and sufficient cause appearing therefor, it is hereby

       ORDERED, ADJUDGED AND DECREED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Debtors are permitted to file under seal the portions of their schedules of

assets and liabilities, and the accompanying creditor matrix, consisting of the names and

addresses of the Debtors’ former employees and customers (the “Sealed Creditors”).

       3.      Because the Bankruptcy Noticing Center is unable to provide notice of this case

to the Sealed Creditors, the Debtors’ counsel is authorized and directed to serve the Sealed

Creditors with written notice of the Debtors’ chapter 7 cases in the form of the notice annexed

hereto as Exhibit A (the “Notice”).

       4.      The Notice may be served on the Sealed Creditors via e-mail to the extent the

Debtors have determined that they have a valid e-mail address for any Sealed Creditor and have

supplied such address to their counsel; if not successfully served by e-mail, the Notice shall be

served via first class mail, postage prepaid. Following service of the Notice, Debtors’ counsel

shall file a certificate of service under seal indicating that, and specifying the method by which.

service was made on each of the Sealed Creditors.

       5.      This Court shall retain jurisdiction over any and all issues arising from or related

to the implementation and interpretation of this Order.
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SO ORDERED:


                                     _____________________________________
Dated: _________________, 2020       Hon. Janet E. Bostwick
                                     UNITED STATES BANKRUPTCY JUDGE
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                                 Exhibit A
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                                        UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MASSACHUSETTS
                                                EASTERN DIVISION

In re:                                                                        )
                                                                              )
LEGACY GLOBAL SPORTS, L.P., et al.                                            )         CHAPTER 7
                                                                              )         CASE NO. 20-11157; and
                                                                              )         20-11351 through 20-11376
                                   Debtors.                                   )
                                                                              )

  NOTICE OF CHAPTER 7 BANKRUPTCY CASE – PROOF OF CLAIM DEADLINE SET

For each of the debtors listed below, a case has been filed under chapter 7 of the Bankruptcy Code. An order
for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read this notice carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors
generally may not take action to collect debts from the debtor or the debtor's property. For example, while the stay is
in effect, creditors cannot sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor.
Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be
required to pay actual and punitive damages and attorney's fees.

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected at
the bankruptcy clerk's office at the address listed below or through PACER (Public Access to Court Electronic
Records at www.pacer.gov).
------------------------------------------------------------------------------------------------------------------------------------------------------------
The staff of the bankruptcy clerk's office cannot give legal advice.
------------------------------------------------------------------------------------------------------------------------------------------------------------
Do not file this notice with any proof of claim or other document in the case. Do not include more than the
last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including
attachments, that you file with the court.


Debtor‘s Full Name                               Address                                            Case No.            Proof of Claim Deadline
Legacy Global Sports L.P.                        77 Sleeper Street                                  20-11157            9/21/20
                                                 Boston, MA 02210
LGS Management, LLC                              77 Sleeper Street                                  20-11351            8/31/20
                                                 Boston, MA 02210
LGS Manufacturing LLC                            77 Sleeper Street                                  20-11352            8/31/20
                                                 Boston, MA 02210
Legacy Global Lacrosse LLC                       77 Sleeper Street                                  20-11353            8/31/20
                                                 Boston, MA 02210
LGS Logistics LLC                                77 Sleeper Street                                  20-11354            8/31/20
                                                 Boston, MA 02210
LGS Team Sales LLC                               77 Sleeper Street                                  20-11355            8/31/20
                                                 Boston, MA 02210
Premier Sports Events LLC                        77 Sleeper Street                                  20-11356            8/31/20
                                                 Boston, MA 02210
Massachusetts Premier Soccer                     85 Central St                                      20-11357            8/31/20
LLC d/b/a Global Premier Soccer                  Waltham, MA 02453
Maine Premier Soccer LLC                         426 Bridge Street                                  20-11358            8/31/20
                                                 Westbrook, ME 04902
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Mass Premier Soccer in New               360 Route 101Unit 14C                   20-11359      8/31/20
Hampshire LLC                            Bedford, NH 03110
Florida Premier Soccer LLC               933 Lee Rd, Suite 401                   20-11360      8/31/20
                                         Orlando, FL 32810
New York Premier Soccer LLC              557 East Ridge Road                     20-11361      8/31/20
                                         Buffalo, NY 14221
Jersey Premier Soccer LLC                20 East Roosevelt Blvd Suite A          20-11362      8/31/20
                                         Wall, NJ 07719
GPS in Vermont LLC                       360 Route 101Unit 14C                   20-11363      8/31/20
                                         Bedford, NH 03110
Rhode Island Premier Soccer LLC          547 Mt. Pleasant Avenue                 20-11364      8/31/20
                                         Providence, RI 02908
Carolina Premier Soccer LLC              706 Orleans Road                        20-11365      8/31/20
                                         Charleston, SC 29407
Georgia Premier Soccer LLC               2640 Mathews St                         20-11366      8/31/20
                                         Atlanta, GA 30339
Global Premier Soccer                    El Mirador de Cupey C/7 I-9             20-11367      8/31/20
Puerto Rico LLC                          San Juan, PR 926
Global Premier Soccer                    3399 Castlerock Place, Unit 25          20-11368      8/31/20
Canada LLC                               London, ON N6L 0C8
Global Premier Soccer                    9011 SW Beaverton Hillsdale Hwy         20-11369      8/31/20
Oregon LLC                               Beaverton, OR 97225
Global Premier Soccer                    4148 Ocean View Blvd                    20-11370      8/31/20
California LLC                           Montrose, CA91020
Global Premier Soccer                    700 Bent Oak Court                      20-11371      8/31/20
Missouri, LLC                            Saint Louis, MO 63367
Global Premier Soccer                    85 Central St                           20-11372      8/31/20
Connecticut LLC                          Waltham, MA 02453
Global Premier Soccer                    410 N Ramunno Drive, Unit 702           20-11373      8/31/20
Delaware LLC                             Middleton, DE 19709
Global Premier Soccer                    6431 Pine Hollow Dr                     20-11374      8/31/20
Michigan LLC                             East Lansing, MI 48823
Global Premier Soccer                    1700 105th Ave NE                       20-11375      8/31/20
Minnesota LLC                            Blaine, MN 55449
Global Premier Soccer Ohio LLC           7160 Seymour Street NW                  20-11376      8/31/20
                                         Massilon, OH 44646

Debtors’ attorney                   Jonathan Horne                                       Contact phone (617) 457-4085
Name and address                    Murtha Cullina LLP                                   Email: jhorne@murthalaw.com
                                    99 High Street
                                    Boston, MA 02210
Bankruptcy Trustee                  Harold B. Murphy                                     Contact phone (617) 423-0400
Name and address                    Murphy & King, P.C.                                  Email: mxc@hanify.com
                                    One Beacon Street
                                    Boston, MA 02108-3107
Bankruptcy clerk's                  U. S. Bankruptcy Court                               Hours open
office                              J.W. McCormack Post Office & Court House             Monday−Friday
                                    5 Post Office Square, Suite 1150                     8:30am−5:00pm
Documents in this case may
                                    Boston, MA 02109−3945                                Contact phone 617−748−5300
be filed at this address.
                                                                                         Date: 6/25/20
You may inspect all records
filed in this case at this office
or online at www.pacer.gov.
Meeting of creditors                Originally scheduled meeting date:                   Location:
The debtor's representative         July 30, 2020 at 10:00 AM                            The meeting will be held
must attend the meeting to                                                               TELEPHONICALLY
be questioned under oath.           The meeting of creditors has been
Creditors may attend, but are       rescheduled to: August 27, 2020 at 10:30a.m.
not required to do so.              The meeting may be continued or adjourned to
                                    a later date. If so, the date will be on the court
                                    docket.




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The dial−in number and participant code for the telephonic section 341 meeting of creditors will be posted to
  the docket within 14 days prior to the meeting. You may also contact the trustee for dial−in information.

Deadlines                        Deadline for creditors (except governmental units) to file a
Papers and any required fee      proof of claim: see above for each debtor.
must be received by the
bankruptcy clerk's office no     Deadline for governmental units to file a proof of claim: Filing deadline: 180
later than 4:30 PM (Eastern      days from the date the bankruptcy petition was filed.
Time) by the deadlines listed.
                                 A proof of claim is a signed statement describing a creditor's claim. A proof of claim
                                 form (Official Form 410) may be obtained at www.uscourts.gov or any bankruptcy
                                 clerk's office or printed from the courts website at
                                 www.mab.uscourts.gov/mab/creditorinformation. You may also file your claim
                                 electronically through the court's website at www.mab.uscourts.gov.

                                         · If you do not file a proof of claim against the correct debtor by the deadline
                                           listed, you might not be paid any money on your claim.

                                         · To be paid, you must file a proof of claim even if your claim is listed in
                                           the schedules that the debtor filed.

                                 Secured creditors retain rights in their collateral regardless of whether they file a
                                 proof of claim. Filing a proof of claim submits the creditor to the jurisdiction of the
                                 bankruptcy court, with consequences a lawyer can explain. For example, a secured
                                 creditor who files a proof of claim may surrender important nonmonetary rights,
                                 including the right to a jury trial.

Deadline to file                 Requests under Bankruptcy Code               Filing deadline:
§503(b)(9) requests              §503(b)(9)(goods sold within twenty(20)      60 days from the first date set for the
                                 days of bankruptcy) must be filed in the     meeting of creditors.
                                 bankruptcy clerk's office.

Creditors with a foreign         If you are a creditor receiving a notice mailed to a foreign address, you may file a
address                          motion asking the court to extend the deadlines in this notice. Consult an attorney
                                 familiar with United States bankruptcy law if you have any questions about your
                                 rights in this case.

Liquidation of the               The bankruptcy trustee listed on the front of this notice will collect and sell the
debtor's property and            debtor's property. If the trustee can collect enough money, creditors may be paid
                                 some or all of the debts owed to them, in the order specified by the Bankruptcy
payment of creditors'            Code. To ensure you receive any share of that money, you must file a proof of claim,
claims                           as described above.

Abandonment of Estate            Notice is hereby given that any creditor or other interested party who wishes to
Property                         receive notice of the estate representative's intention to abandon property of the
                                 estate pursuant to 11 U.S.C. §554(a) must file with the Court and serve upon the
                                 estate representative and the United States trustee a written request for such notice
                                 within fourteen (14) days from the date first scheduled for the meeting of creditors.




                                                           3
